                     Doc.,,\c:Q.-\- vm.,~:
              Case 3:18-cv-00683-VLB
suMMoNs - c1v1L                            \-\ r\1-1t)-CFiled
                                      Document                04/20/18
                                                          v- \,         N'
                                                                 - 50 '-V't~d-5
                                                                        Page 1 of-s
                                                                                  61
Jo-cv. 1    Rev. 4 •16                                                                                                                STATE OF CONNECTICUT                                ~i
C.G.S. §§ 51-346, 51-347, 51 -349, 51-350, 52-45a,                                                                                          SUPERIOR COURT   ..,~
52-48, 52-259, P.B. §§ 3-1 through 3-21, 8-1, 10-13                                                                                                   · d t ~~~
                                                                                                                                                             WWW.Ju .c .gov            ~
See other side for instructions

       "X" if amount, legal interest or property in demand, not including interest and
D      costs is less than $2,500.
[xJ    "X" if amount, legal interest or property in demand, not including interest and
       costs is $2,500 or more.                                                                                                                              APR 12 2018 PMl2:25
[]l    "X" if claiming other relief in addition to or in lieu of money or damages.

TO: Any proper officer; BY AUTHORITY OF THE STATE OF CONNECTICUT, you are hereby commanded to make due and legal service of
this Summons and attached Complaint.
Address of court clerk where writ and other papers shall be filed (Number, street, town and zip code)           Telephone number of clerk         Return Date (Must be a Tuesday)
(C.G.S. §§ 51-346, 51-350)                                                                                      (with area code)
 95 Washington Street                  Hartford, CT 06106                                                       ( 286q       548-2700              May                                8       2 018
                                                                                                                                                                                          1
                                                                                                                                                              Mon1h                "15av       Year
[R]    Judicial District                                         At (Town in which writ is returnable) (C.G.S. §§ 51-346, 51-349)                  Case type code (See list on page 2)
                                         D Number:
fl     Housing Session
                                           GA
                                                               I Hartford                                                                              Major: T                 Minor: 90
For the Plaintiff(s) please enter the appearance of:
Name and address of attorney, law firm or plaintiff if self-represented (Number. street, town and zip code)                                      IJuris number        (tobe entered by attorney only)

 Lewis Chimes Law               Office Lewis Chimes LLC, 45 Franklin St., Stamford, CT                                                             303446
Telephone number (with area code)                               ISignature of Plaintiff (If self-represented)
 ( 203) 324-7744
The attorney or law firm appearing for the plaintiff, or the plaintiff if                                  Email address for delivery of papers under Section 10-13 (if agreed to)
self-represented, agrees to accept papers (service) electronically in        ~ Yes         D     No        lchimes@chimeslaw.com
this case under Section 10-13 of the Connecticut Practice Book.
 Number of Plaintiffs:             1           INumber of Defendants:          7             I     ~     Form JD-CV-2 attached for additional parties
       Parties               Name (Last, First, Middle Initial) and Address of Each party (Number; Street; P.O. Box; Town; State; Zip; Country, if not USA)
         First             Name:       Nicole Chase                                                                                                                                             P-01
       Plaintiff           Address:    c/o Law Office of Lewis Chimes, LLC
      Additional           Name:                                                                                                                                                                P-02
       Plaintiff           Address:

        First              Name:    Nodine'sSmokehouse, Inc.                                                                                                                                    D-01
      Defendant            Address: 65 Fowler Avenue, Torrinton, CT 06795
      Additional           Name:    Calvin Nodine                                                                                                                                               D-02
      Defendant            Address: 39 Greenwoods Road East, Norfolk, CT 06058
      Additional           Name:    Town of Canton                                                                                                                                              D-03
      Defendant            Address: Town Clerk: Linda Smith Town Clerk, 4 Marekt Street, Collinsville, CT 06022
                                                                                                                                                  ,.
      Additional           Name:    John Colangelo                                                                                                                                               D-04
      Defendant            Address: Town clerk: Linda Smith 4 Market Street, Collinsville, CT 06022

 Notice to Each Defendant
 1. YOU ARE BEING SUED. This paper is a Summons in a lawsuit. The complaint attached to these papers states the claims that each plaintiff is making
    against you in this lawsuit.
 2. To be notified of further proceedings, you or your attorney must file a form called an "Appearance" with the clerk of the above-named Court at the above
    Court address on or before the second day after the above Return Date. The Return Date is not a hearing date. You do not have to come to court on the
    Return Date unless you receive a separate notice telling you to come to court.
 3. If you or your attorney do not file a written "Appearance" form on time, a judgment may be entered against you by default. The "Appearance" form may be
    obtained at the Court address above or at www.jud.ct.gov under "Court Forms."
 4. If you believe that you have insurance that may cover the claim that is being made against you in this lawsuit, you should immediately contact your
    insurance representative. Other action you may have to take is described in the Connecticut Practice Book which may be found in a superior court law
    library or on-line at www.jud.ct.gov under "Court Rules."
 5. If you have questions about the Summons and Complaint, you should talk to an attorney quickly. The Clerk of Court is not allowed to give advice on
    legal questions.
 Signed (Sign and "X" prop( box) /              _J   ./                                             Name of Person Signing at Left                                          Date signed
               l--t- ~ -               ~ ~                                                            Lewis Chimes                                                          4/10/2018
 If this Summons is signed by a Clerk:                                                                                                   For Court Use Only
 a. The signing has been done so that the Plaintiff(s) will not be denied access to the courts.                                   FIie Date
 b. It is the responsibility of the Plaintiff(s) to see that service is made in the manner provided by law.
 c. The Clerk is not permitted to give any legal advice in connection with any lawsuit.
 d. The Clerk signing this Summons at the request of the Plaintiff(s) is not responsible in any way for any errors or omissions           ~                  co                  :\
     in the Summons, any allegations contained in the Complaint, or the service of the Summons or Complaint.                   (\ e       . 'o~o\l'l'
                                                                                                                                                           ~ \ J · \\'o\
                                                                                                                                                       ""' . c'0 ,. "o~s
                                                                                                                                                         ,      \e '"'
  I certify I have read and              Signed (Self-Represented Plaintiff)                                                   Date
  understand the above:
                                                                                                                                                             EXHIBIT A
                                                                                          (Page 1 of 2)
            Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 2 of 61
CIVIL SUMMONS                    STATE OF CONNECTICUT
CONTINUATION OF PARTIES
JD-CV-2     Rev. 9-12                                  SUPERIOR COURT
First named Plaintiff (Last, First. Middle Initial)
Nicole Chase
First named Defendant (L ast, First, Middle Initial)
Nodine's Smokehouse, LLC
Additional Plaintiffs
Name (Last, First, Middle Initial, ifin dividual)         Address (Number, Street. Town and Zip Code)                                   CODE

                                                                                                                                         03

                                                                                                                                         04

                                                                                                                                         05

                                                                                                                                         06

                                                                                                                                         07

                                                                                                                                         08

                                                                                                                                         09

                                                                                                                                         10

                                                                                                                                         11

                                                                                                                                         12

                                                                                                                                         13
Additional Defendants
Name (La st. First, Middle Initial, if individual)        Address (Number, Street, To wn and Zip Code)                                   CODE
 Adam Gompper
 Town clerk: Linda Smith Town Clerk 4 Market Street, Collinsville, CT 06022                                                              05
 Mark J. Penney
 Town clerk: Linda Smith Town Clerk 4 Market Street, Collinsville, CT 06022                                                               06
 Christopher Arciero
 Town clerk: Linda Smith Town Clerk 4 Market Street, Collinsville, CT 06022                                                               07

                                                                                                                                          08

                                                                                                                                          09

                                                                                                                                          10

                                                                                                                                          11
                                                                                                              FOR COURT USE ONLY - File Date

                                                                                                        12



                                                                                                        13



                                                                                                        14   Docket number



                                                                                                                     EXHIBIT A
                                                                                                                CIVIL SUMMONS-Continuation
                                         Print Form                                                 Reset Form
         Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 3 of 61




RETURN DATE:          MAY 8, 2018 _ _x
                                                     Dkt: HHD-CV-XX-XXXXXXX-S
NICOLE CHASE,
                     Plaintiff,
                                                      SUPERIOR COURT
              vs.
                                                      JUDICIAL DISTRICT OF
NODINE'S SMOKEHOUSE, INC.,
CALVIN NODINE, DETECTIVE                              HARTFORD
JOHN COLANGELO, POLICE
OFFICER ADAM GOMPPER,
SGT. MARK J. PENNEY, POLICE                           April 10, 2018
CHIEF CHRISTOPHER ARCIERO,
and the TOWN OF CANTON
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _x

                                          COMPLAINT

   I. PRELIMINARY STATEMENT

  1.    Nicole Chase brings various claims for sexual assault by her employer, Calvin Nodine,

and his company, Nadine's Smokehouse that took place the evening of May 6, 2017. Calvin

Nodine pulled her into the men's room of his restaurant and forced her to perform oral sex on

him.

  2.   The following morning, she reported the sexual assault to Police Officers of the Canton

Police department. Over the next three months, Nicole Chase was victimized a second time by

the defendant police officers . Instead of investigating and prosecuting her assailant, they treated

her with disrespect and never took her complaint seriously. They failed to meet even the most

minimal standards of law enforcement for officers interviewing a victim of sexual assault and

investigating her claims. They ignored potential areas of corroboration. In contrast, their

treatment of the assailant, Mr. Nodine, was cordial, deferential and accommodating.




                                                                                       EXHIBIT A
          Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 4 of 61




  3.    On September 8, 2017, the police charged Ms. Chase with Making a False Statement.

The warrant that was submitted in support of the arrest was demonstrably false, palpably biased,

and omitted and disto1ted evidence that was supportive of her claim of sexual assault.

  4.    Calvin Nodine, her assailant, has never been charged to date.

  5.    Plaintiff requests a trial by jury in this matter.


   II. THE PARTIES

   6.    The plaintiff, Nicole Chase, brings claims based upon the sexual assault perpetrated by

defendant Calvin Nodine on May 6, 2017.

   7.   Ms. Chase began working for Nodine's, in approximately September 2016.

   8.   At all times mentioned herein, the plaintiff resided in Canton, Connecticut.


        A. The Sexual Assault Defendants

   9.   Defendant, Nodine's Smokehouse, Inc. ("Nodine's Smokehouse"), has a business address

of 65 Fowler Avenue, Torrington, Connecticut 06790. Nodine's Smokehouse produces smoked

meats for sale to individuals and restaurants.

   10. Nodine' s Smokehouse also has a gourmet store/restaurant located in Goshen, CT.

   11. Nodine's Smokehouse employs more than fifteen (15) people.

   12. Nadine's Smokehouse opened a restaurant, Nodine's Smokehouse Deli and Restaurant

("Nodine's Restaurant") at 192 Albany Turnpike, Canton, CT in 2016.

   13. At all times mentioned herein, defendant Calvin Nodine, was a resident of Norfolk, CT.

   14. At all times mentioned herein, Calvin Nodine was an owner of and President ofNodine's

Smokehouse.




                                                     2



                                                                                       EXHIBIT A
         Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 5 of 61




  15. At all times mentioned herein, Calvin Nodine controlled all aspects of operations,

including hiring, firing, discipline, payroll and the terms and conditions of employment at

Nadine's Restaurant.


       B. The Police Misconduct Defendants

   16. The defendant, the Town of Canton, is a town organized pursuant to the laws of the State

of Connecticut.

   17. Pursuant to the town charter and ordinances, and the laws of the State of Connecticut, the

defendant Town of Canton maintains a municipal police force . The purpose of the department is

the protection of life and property, the preservation of public peace, the prevention and detection

of crime, the apprehension of offenders and the enforcement of State, and local laws and

ordinances.

   18. At all times mentioned herein, Christopher Arciero was the Chief of Police of the Town

of Canton. He is being sued in his official and personal capacity.

   19. At all times mentioned herein, Sgt. Mark J. Penney was the Shift Commander who

oversaw Officer Gompper and Detective Colangelo in the investigation of Nicole Chase's

   20. Complaint and her arrest. He is being sued in his official and personal capacity.

   21. At all times mentioned herein, John Colangelo was a Detective in the Canton Police

Depaiiment. He is being sued in his official and personal capacities.

   22. At all times mentioned herein, Adan1 Gompper was a Police Officer in the Canton Police

Depaiiment. He is being sued in his official and personal capacities.




                                                  3


                                                                                      EXHIBIT A
         Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 6 of 61



   ID. Jurisdiction

  23.   On or about October 30, 2017, the plaintiff filed a complaint of sexual harassment,

hostile work environment and retaliation against the defendants with the Connecticut

Commission on Human Rights and Opportunities ("CHRO") and the Equal Employment

Opportunities Commission ("EEOC").

  24. The plaintiff requested an early Release of Jurisdiction from the CHRO, and received

plaintiffs a release against Nodine's Smokehouse on January 15, 2018. Plaintiff received a

release of jurisdiction as to Calvin Nodine on January 20, 2018.

  25. This case is being timely filed within 90 days of the issuance of these releases.

  26. The plaintiff has requested its right to sue letter for Nadine's Smokehouse from the

EEOC on April 2, 2018

   27. The plaintiff has timely filed a Notice of Claim as to the defendants, pursuant to Conn.

Gen. Stat. §7-465 .


   IV. STATEMENT OF FACTS

           A. Facts Relating to Sexual Assault and Hostile Environment

   28. In or about September 2016, Ms. Chase began working for defendants. Ms. Chase

initially worked at the Nodine's Smokehouse factory in Torrington but helped to set up Nadine's

Restaurant in Canton and worked there once it opened.

   29. Nodine's Restaurant opened in or about November 2016.

   30. Between November 2016 and around April 2017, defendant Calvin Nodine would come

into the restaurant nearly every day; but he rarely stayed very long.




                                                 4



                                                                                     EXHIBIT A
          Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 7 of 61




  31. Even before he sexually assaulted Ms. Chase on May 6, 2017, Mr. Nodine would engage

in inappropriate conduct that made her feel uncomfortable. For example:


           a. on several occasions he would throw his eye glasses on the floor and require her

                 to pick them up. When she bent to pick them up, he would stare down her shi1t;

           b. he would make suggestive comments about "pieces of meat";

           c. he would tell graphic stories about his sexual exploits;

           d . he would make dhty jokes and comments;

           e. he would stare at her;

           f.    he would follow her around;

   32. These comments and behavior were unwelcome, but she put up with it because he was

never around in the restaurant very long.

   33. Starting in April 2017, Calvin Nodine began to spend more time at the restaurant.

   34. He started to give Ms. Chase free items from the restaurant. He had never done that

before.

   35. Ms. Chase can1e in to work on Saturday May 6, 2017 in the morning.

   36. Calvin Nodine came in later that morning.

   37. One of the first things that he said to Ms. Chase when he arrived was "So did you get laid

last night?" He said that in front of a co-worker.

   38. Ms. Chase observed him drinking alcohol tlu·oughout the day.

   39. Mr. Nodine made several other offensive comments directed to her that day:


            a.    "Blondes are like butter, they're easy to spread."




                                                    5



                                                                                    EXHIBIT A
         Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 8 of 61




           b.   Mr. Nodine was aware that Ms. Chase had an injury to her leg. He commented

                that her leg is hmt from having her "legs behind [her] back too much."

  40. Ms. Chase attempted to ignore his comments and avoid Mr. Nodine.

  41. Although he had been verbally offensive prior to May 6, 2017, Calvin had never touched

Ms. Chase in an inappropriate manner prior to that date.

  42. That changed on May 6. Prior to sexually assaulting her at the end of her shift, Mr.

Nodine made uncomfo1table physical contact with Ms. Chase twice.

   43. On the first occasion, Mr. Nodine gave her an unsolicited and unwelcomed hug and a kiss

on the cheek. This occurred in front of Mr. Nodine's wife, Kelly Nodine.

   44. On the second occasion, Ms. Chase was standing at the pizza counter with a co-worker,

when Mr. Nodine proceeded to come behind the counter and approached her from behind. Mr.

Nodine put his arm across Ms. Chase's back and placed his hand upon her shoulder. Mr. Nodine

pulled her into his body and squeezed her arm and back with his hand and he continued to lower

his hand until he reached her buttocks, which he proceeded to squeeze. Ms. Chase stepped

forward to get his hand away from her buttocks and hunied away from him.

   45. At the close of business on May 6, 2017, Mr. Nodine forced Ms. Chase to perform oral

sex on him . After Ms. Chase had finished closing out the cash drawer and walked toward the

rear of the restamant to leave, Mr. Nodine stood with his arms extended out towards her and

proceeded to hug her. A coworker came back into the building and yelled out Mr. Nodine's

name. In response, Mr. Nodine grabbed Ms. Chase's arm and pulled her into the men1s

bathroom, locking the door behind them. Mr. Nodine then held his finger up to her mouth as to

tell her to remain quiet. Ms. Chase was in shock and fearful and did not say anything.



                                                 6



                                                                                     EXHIBIT A
          Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 9 of 61




  46. After the co-worker left the building, Defendant Nodine exposed himself to Ms. Chase,

grabbed his penis and stated, "Suck it because I know you don't get it at home." Mr. Nodine used

one hand and pushed her head down towards his genitals and used his other hand to force his

penis into her mouth. Ms. Chase resisted, but Nodine would not let go. He forced Ms. Chase to

perform oral sex on him until he ejaculated.

  47. When Defendant Nodine removed his hand from Ms. Chase's head, she pushed him

away, unlocked the batlu·oom door, and escaped.

  48. When she got home, Ms. Chase inunediately texted her former general manager at

Nadine's Restaurant and told him that Calvin Nodine had sexually assaulted her. In the ensuing

text exchange, he told Ms. Chase to report it to tl1e police. Ms. Chase also spoke with her mother

that night about the sexual assault.

   49. The following morning, on May 7, 2017, Ms. Chase went with her mother to the Canton

Police Department and reported the incident. She told them everything that happened and that

she was sexually assaulted except that she omitted the fact that he had succeeded in forcing her

to perfo1m oral sex on him until he ejaculated. Ms. Chase omitted that fact because she was

ashamed and humiliated that she somehow allowed herself to get into a positon where he was

able to force her to do that.

   50. Ms. Chase had also gone to the restaurant to collect her personal belongings. Mr. Nodine

was present. He asked her to go to his office with him to clean it out; when she refused, he

replied "What? Can you think of something else better to do than fuck me?" Not wanting to

escalate the situation, she walked away . Before she left, Defendant Nodine asked if he could give

her a ride home, which she refused.



                                                  7



                                                                                     EXHIBIT A
         Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 10 of 61




  51 . On Monday, May 8, 2017, Mr. Nodine called Ms. Chase and stated that he was closing

the store until the following Tuesday (May 16, 2017) and asked her to help him clean the

restaurant. She refused.

  52. Ms. Chase's last day at work was May 7, 2017.

  53. As a result of the sexual assault and the defendants' conduct, she was constructively

discharged from Nadine's Restaurant.

  54. After her constructive discharge, she applied for and received unemployment

compensation in July 2017.

   55 . The defendants subsequently retaliated against the plaintiff by falsely accusing her of

fraud in her application for unemployment benefits and contesting her right to receive benefits.

   56. Nodine made sexual conduct an explicit or implicit term of her employment.

   57. The defendants' conduct interfered with the terms and conditions of her employment.

   58. Mr. Nadine's conduct created a hostile environment that substantially interfered with the

plaintiffs work performance and/or Mr. Nadine's conduct created an intimidating, hostile, or

offensive working environment.

   59. As a result of the defendants' conduct, the plaintiff has lost wages, incurred medical and

legal expenses, and has suffered emotional distress.


           B. Facts Relevant to the Canton Police Department Misconduct

   60. The morning after Nodine sexually assaulted her (May 7, 2017), Ms. Chase went with her

mother to the Canton Police Depa1iment and reported the sexual assault by Calvin Nodine.




                                                 8



                                                                                      EXHIBIT A
             Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 11 of 61




  61. Accepted Law Enforcement Standards exist as to methods and procedures for the

                                                            1
investigation and interview of victims of sexual assault.       These standards are intended to

overcome the longstanding stereotypical assumptions about sexual assault and negative

judgments made about victims of sexual assault when they repmt the c1ime: 2

       a. There is no typical victim behavior.

       b. There is no typical sexual assault suspect.

       c. Sex crimes victims almost always arrive at the interview plagued with shame,

              anxieties, misinformation, and with fears of being judged. Even more significant, they

              usually come to these interviews still very unce1tain about whether they really want to

              be going forward with the justice process.

        d. Law Enforcement's initial priority when initially meeting a victim of sexual assault is

              to attend to the victim's immediate needs and stabilize the victim' s environment:

              build rapport with the victim, empower the victim, use advocates, and seek medical

              services.

        e.      The initial Interview should be non-accusatory. The investigator should endeavor to

              reassure and gain the trust of the victim.

        f.     The interview location should be safe and comfortable for the victim. It should allow

               the victim a measure of control over her surroundings, provide privacy, and be

               distraction free.




    Sources: International Association of Chiefs of Police (IACP) and End Violence Against Women
International (EVAW).
2
   Despite persistent stereotypes that women falsely reporting false incidents of sexual assault are
common, Eight studies over the past 30 years that the number of complaints that were determined to be
false are very low (2.1 % - 10.9%). Lisak, False Allegations of Sexual Assault, Violence Against Women
(20 I 0).
                                                     9



                                                                                        EXHIBIT A
     Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 12 of 61




g. The investigator needs to avoid being judgmental. At some point or points in a sex

      crime victim interview, the investigator may have strong personal feelings or

      disagreements about the things that the victim did or things that investigator believes

      are stupid, ineffective, provocative, morally offensive, wrong, risky, unfair, cowardly

      or dishonest. Finding fault with the victims is one of those reactions that often

      unconsciously comes to the fore no matter how much training the investigator has .

h. The investigation must not be based upon sympathy or bias for the suspect. An

      investigator cannot be dismissive of a sexual assault complaint because the suspect

      seems sincerely outraged and upset by the charges, has a credible story, or he appears

      to be a responsible citizen who does not meet stereotypical assumptions about who is

      likely to be a "rapist."

1.    It is not unusual for victims of sexual assault to omit details or make inconsistent

      statements as they relate their story. There are many explanations as to why a victim

      may omit details or tell a different story:

                   1.   victims might omit information due to trauma or disorganization.

                  11.   Victims might omit information because they are uncomfortable

                        relaying details of the sexual assault.

                 iii. Many victims give information that is incomplete, inconsistent, or

                        untrue because they are afraid that they won't be believed or that they

                        will be blamed for the sexual assault.




                                              10


                                                                                  EXHIBIT A
        Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 13 of 61




                    1v. Victims alter or exaggerate the details of what happened is to create a

                         case that seems more believable. This can be due to guilt, shame, or a

                         fear of not being believed.

             None of these explanations means that the sexual assault is a false report.

   J.    Investigators should not interrogate a sexual assault victim as if they were a suspect.

         Investigators sometimes use information from the suspect to aggressively question the

         victim. For example, they may interview suspects who claim that the act was

         consensual and offer facts to support that claim (e.g., how the victim was dressed,

         what the victim was doing, etc.). Then, the investigators question the victim

         repeatedly about these claims, until he or she finally gives up and recants. In this type

          of situation, no real investigation is even conducted. Rather, the "investigation" stops

          in the initial stages of the interview with the victim. It is inappropriate to interrogate a

          victim of sexual assault.

    k. In all dealings with a victim of sexual assault, the investigator should avoid

          reproducing the victim-blaming stereotypes that have historically hindered

          investigations and discouraged victims of sexual assault from coming forward.

    1.    It is extremely important for investigators of sexual assaults to keep the victim fully

          informed of what is happening and what is going to happen next. Few things make a

          sex crimes victim more mmecessarily anxious, fearful, and leery of the process than

          not being informed of what's happening and what's going to happen next.

62. The Canton Police failed to follow these established standards.

63 . There are no female police officers at the Canton Police Department.



                                                 11



                                                                                        EXHIBIT A
           Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 14 of 61




  64. Defendant Adam Gompper met with Ms. Chase in the lobby of the Canton Police

Department on May 7, 2017. He had her relate the details of the assault in a public area, with her

mother present. As they discussed the incident, numerous individuals in the public lobby were

walking by. She related that Calvin Nodine had sexually assaulted her in the men's batlu·oom

without her consent.

   65. Officer Gompper did not refer her to a hospital for examination.

   66. He did not provide her with contact information for support groups for victims of sexual

assault.

   67. He did not gather any physical evidence from Ms. Chase.

   68. He did not go to the crime scene.

   69. Defendant Gompper did not schedule any follow up meetings for Ms. Chase with an

investigator. He told her that if she decided to pursue the charges, she could come back and

make a written statement.

   70. Ms. Chase told Officer Gompper that she was not sure whether she wanted to make a

formal complaint. Officer Gompper responded that she could see how the day goes. He told her

that if she filed the complaint, they would interview Mr. Nodine. He told her that they had a lot

of "he said/she said" cases like this that the police cannot prove.

   71. Ms. Chase told Officer Gompper that she was going to go back to the restaurant. He did

not accompany her.

   72. On Thursday, May 11, 2017, Ms. Chase returned to the police department and spoke to

Officer Gompper a second time. He typed up a statement that he had her sign.




                                                  12



                                                                                     EXHIBIT A
          Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 15 of 61




  73. In the statement Ms. Chase reiterated that Calvin Nodine had sexually assaulted her

without her consent.

  74. Two other employees of the restaurant, Alexandra Archer and Kyle Rouleau also

provided statements to Officer Gompper.

  75. Ms. Archer corroborated that Mr. Nodine made unwanted sexual advances towards Ms.

Chase earlier in the day before the sexual assault.

   76. Mr. Rouleau corroborated that he had observed Calvin Nodine hovering arow1d and

following Ms. Chase in the restaurant during the day. He also corroborated that Mr. Nodine

frequently makes inappropriate sexual comments at the restaurant.

   77. After she provided the statement on May 11 , 2017, Officer Gompper told Ms. Chase that

they would interview Mr. Nodine, and then submit a warrant to see if it gets signed by the Judge.

   78. He did not gather any physical evidence from Ms. Chase.

   79. He did not go to the crime scene.

   80. Officer Gompper told Ms. Chase that he would call her after the police interviewed Mr.

Nodine.

   81. According to Nicole Chase's Anest Wanant, defendants John Colangelo and Adam

Gompper interviewed Calvin Nodine on May 18, 2018. Nodine was represented by his attorney,

David Moraghan, at the time of interview.

   82. According to Nicole Chase's Arrest Warrant, Calvin Nodine, initially denied any sexual

encounter between Ms. Chase and Mr. Nodine.




                                                  13



                                                                                    EXHIBIT A
           Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 16 of 61




   83 . This was a lie. According to the Arrest Warrant, "after Nodine spoke privately with his

attorney, Nodine explained that Chase had performed oral sex on him in the bathroom, and it was

consensual."

   84. Officer Gompper never contacted Ms. Chase after Calvin Nodine was interviewed.

   85. Ms. Chase left several messages for Officer Gompper that were not returned.

   86. Ms. Chase finally reached Officer Gompper, and he indicated that they had interviewed

Calvin Nodine, and that they needed several more weeks to investigate. He gave no further

details.

   87. Over one month passed, with no additional information from the Canton Police

Depruiment.

   88. On June 21 , 2018, Nicole Chase was called down to the Canton Police Depa1iment.

   89. Ms. Chase was brought into an interview room that contained a recording device.

   90. She met with Detective Jolm Colangelo. She had never spoken to him before.

   91. Officer Gompper was not present.

   92. Detective Colangelo did not make any inquiries about how she was doing, or her well-

being, or whether she had sought support.

   93. Detective Colangelo was intimidating from the start. He spoke to her in a rapid staccato

voice.

   94. At no time did Detective Colangelo advise her that he now considered her to be a suspect

and was contemplating criminal charges against her.

   95. The first thing that he told her was that the interview was going to be recorded.




                                                14



                                                                                     EXHIBIT A
          Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 17 of 61




    96. He asked her to tell her story again. She told the same story about a non-consensual

sexual assault that she had told twice previously.

    97. He began to press her, implying that she was not telling the entire story.

    98. He tried to intimidate her by telling her that Calvin Nodine had taken a lie detector test.

    99. He asked her whether she thought that Calvin Nodine would tell the truth or lie if he took

a lie detector test.3

    100. He told her that Calvin Nodine had told him that he had oral sex with her and that it was

consensual.

    101. Since the day of the sexual assault, Nicole Chase had not told anyone of the fact that Mr.

Nodine had forced her to perform oral sex on him. She had not told her family, any friend, her

boyfriend or the police that aspect of what had taken place.

    102. Nicole Chase did not tell anyone about that pa11 of the incident because she was

ashamed, she did not want her boyfriend and her mother to know that detail, and she thought that

she would not be believed.

    103. As Detective Colangelo pressed her on the issue, she became very emotional, and

realized that she had to reveal that pa11 of the sexual assault.

    104. Nicole Chase told Detective Colangelo that Calvin Nodine had forced her to perform oral

sex on him, and that it was not consensual.

    105. Having accomplished important and necessary task of getting Nicole Chase to reveal the

entire story of the sexual assault, Detective Colangelo focused entirely on the omission and

improperly jumped to the conclusion that Nicole Chase was not telling the truth that a sexual

assault had occurred.

3
     Detective Colangelo failed to tell her that Calvin Nodine had actually failed a polygraph test, and refused to
take a second polygraph test.
                                                          15



                                                                                                      EXHIBIT A
         Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 18 of 61




   106. During the interview, Nicole Chase told Detective Colangelo about the text messages that

she had sent to her former General Manager shortly after the sexual assault.

   107. She showed them to him on her cell phone, and he requested that she provide copies. He

did not voucher her cell phone as evidence.

   108. Detective Colangelo told her that she had made a false statement. She replied that the

statement was not false.

   109. Detective Colangelo asked her whether she wanted to revise her statement. Ms Chase told

her him she did, but that she wanted to consult with her attorney first.

   110. Several days later, Ms. Chase called Detective Colangelo to come in to correct her

statement. She was told that he was out on vacation.

   111 . According to the Arrest Warrant, Detective Colangelo signed an arrest waITant that

charged Nicole Chase with making a false statement, in violation of Conn. Gen. Stat. §53a-57b,

making a false statement on July 7, 2017.

   112. Around July 13, 2017 Nicole Chase went to the Canton Police Depru.iment to drop off

the printouts of the text messages from the night of the sexual assault. She also asked to see

Detective Colangelo to revise her statement.

   113. The dispatcher told her that Detective Colangelo was busy and that he would call back if

he needed her.

   114. Neither Detective Gompper or Detective Colangelo contacted her.

   115. Nicole Chase had no knowledge that the Canton Police depa1tment were even

considering charging her with a crime.




                                                  16



                                                                                     EXHIBIT A
         Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 19 of 61




   116. On July 25, 2017, she emailed Detective Colangelo about coming in to revise her

statement.

   117. Detective Colangelo never returned her call.

   118. On July 31, 2017, Nicole Chase sent Detective Colangelo a revised statement and asked

that it be incorporated into her original statement. She requested to come in to sign it.

   119. On August 10, 2017, Detective Colangelo finally responded to Ms. Chase's email and

indicated that when Nicole Chase had come to the Canton Police Station [on July 13] he

       " ... had no idea your intent was to give a new statement. Also at that point I had
       already documented the change in your recount of the incident and had already sent the
       case to the court for review. It is still with the States Attorney's office and I should
       hopefully have some direction of the next step shmtly."

   120. Detective Colangelo' s response was false and deceptive.


             a. Nicole Chase had come to the Canton Police to see Detective Colangelo on July

                13, several days before he had signed and swore to the warrant.

             b. Detective Colangelo had not documented that she had corrected her testimony in

                the affidavit.

             c. Detective Colangelo gave her the impression that the warrant application was for

                Calvin Nodine; he never indicated that he had drafted a warrant against her.

   121. Although the warrant had been signed and sworn to by Detective Colangelo on July 17,

2017, it was not signed by the Assistant State's Attorney until August 30, 2017.

   122. The warrant was signed by the Court on September 6, 2017.

   123. On September 8, 2017, Detective Colangelo arrested Nicole Chase for Making a False

Statement, in violation of Conn. Gen. Stat. §53a-57b.




                                                  17



                                                                                       EXHIBIT A
         Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 20 of 61




  124. The Canton Police defendants communicated the fact of Nicole Chase's arrest to

defendants Calvin Nodine and Nodine' s Smokehouse before Nicole Chase was even aware that

she was a criminal suspect.

  125. The Canton police defendants provided confidential investigative documents, i.e., Nicole

Chase' s May 11 , 2017 statement to the defendants Calvin Nodine and Nodine' s Smokehouse.

   126. Nicole Chase was arraigned on the charge in the Hartford Superior Court, G.A. #14, dkt.

# HCR-17-0692973S.

   127. On November 6, 2017, the State's Attorney's Office entered an unconditional nolle

prosequi and the case was dismissed by the Court.

   128. Police Officer Gompper provided information to Det. Colangelo that was included in

the W ruTant.

   129. At all times mentioned herein, Detective Colru1gelo and Officer Gompper' s supervisor,

was Sgt. Mark J. Penney. Penney reviewed and approved all of the police reports pertaining to

the investigation of Nicole Chase. According to the Arrest Warrant, Penney took Colangelo' s

oath as to the accuracy of the warrru1t and approved the Arrest Warrant on July 7, 2017.

   130. The wruTant as submitted to the court was so lacking in the indicia to support the charge

of Making a False Statement that no reasonable police officer trained in interviewing victims of

sexual assault and investigating complaints of sexual assault could believe there was probable

cause to arrest Nicole Chase for Making a False Statement.

   131 . Every statement that Nicole Chase had made, including her sworn statement, was

consistent about Calvin Nodine sexually assaulting her without her consent at Nodine' s

restaurant on the evening of May 6, 201 7.



                                                18


                                                                                    EXHIBIT A
         Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 21 of 61




   132. An omission of a detail of the crime does not make the statement that a crime occuned

false. If every victim were prosecuted for omissions from their earlier statements during an

investigation, it would become impossible to prosecute the underlying crimes.

   133. Nicole Chase never had the requisite intent required by Conn. Gen. Stat. §53a-157b.

Conn. Gen. Stat. §53a- 157b states that the false statement must be made "with intent to mislead a

public servant in the performance of such public servant's official function." The statute is

intended to penalize persons who make false criminal allegations, or persons make false

statements to the police to obstruct or provide false exculpatory information to assist a criminal

suspect. The wan-ant even as drafted, in paragraph 24 of the warrant makes clear that her

omission was not intended to mislead the police in their investigation. There is no evidence in

the warrant to suggest that she had any intent to obstruct the police investigation.

   134. The Arrest Warrant was filled with lies, immendoes, and distortions . For example:


           a.    ,r 31 of   the anest Wanant states that "Chase was asked if she wanted to provide

                a new statement. .. Chase was told that she had the opportunity to put the truth in

                writing."

           b.   if33 of the anest warrant stated: "That, Chase thanked affiant for letting her tell

                the truth. It was explained to Chase that she could call and speak to Affiant

                Colangelo about her decision to provide a written statement. As of 7/7/17 [Date

                Colangelo signed the warrant], Chase has not called to speak to Affiant Colangelo

                of [sic] Officer Gompper."

           c.    These statements completely misrepresent the facts presented to the reviewing

                court.      Nicole Chase attempted to contact defendant Colangelo numerous times.


                                                   19


                                                                                        EXHIBIT A
     Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 22 of 61




          She tried to revise her complaint before he drafted and signed the warrant, and

           after he had signed the warrant, but before it had been presented to the reviewing

           State's Attorney, or the court.   Chase even emailed the revised version of her

           statement to Detective Colangelo one month before it was signed or reviewed by

           the State's Attorney or Judge.

       d. Chase's revision of the signed statement would have removed the remaining

           omission from her earlier statement, and there would have been absolutely no

           basis for a warrant for making a false statement to issue against her.

       e. Detective Colangelo and Officer Gompper's refusal to permit her to revise her

           Statement and go forward with the arrest warrant constituted egregious

           misconduct.

135. Detective Gompper grossly misrepresented material evidence. For example:


       a. In paragraph 9 of the arrest warrant Detective Colangelo wrote that after the

           incident, "Chase then left for the night and then spent two hours thinking about

           it."

       b. Paragraph 10 goes on to state: "That, Chase said she texted Nadine' s step son

           (Jeremy), and told him what happened but did not give full details about Nodine

           telling her to suck it."

        c. In fact, the texts to Jeremy constituted highly probative evidence of her prompt

           and immediate outcry relating to the assault and her state of mind at the time.

           Contrary to the warrant, Ms. Chase reached out to Jeremy Archer, who had




                                              20


                                                                                    EXHIBIT A
        Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 23 of 61




              previously been the General Manager at the restaurant approximately one hom

              after the sexual assault.

          d. Her initial text gives significant insight into what goes through the mind of a

              young woman who has just been sexually assaulted and provides strong

              corroboration of her credibility.

           e. Detective Colangelo misrepresented this highly probative evidence.

  136. Another example of the blatant lie and misrepresentation of evidence in the Arrest

Warrant was in paragraph 19 where Colangelo state " it was eluded to the fact that Nodine took

two polygraph tests." What Detective Colangelo failed to mention in the warrant was that

Calvin Nodine had failed one polygraph test and refused to take a second test.

   13 7. The arrest warrant omitted significant material evidence. During the investigation

Alexandra Archer and Kyle Rouleau both gave statements that corroborated that Calvin Nodine

had previously been making sexual comments about Nicole Chase and following her around.

Archer's statement also corroborated that earlier in the day, Calvin Nodine had made unwanted

sexual advances towards Nicole Chase.

   138. Detective Colangelo, with assistance from Officer Gompper, knowingly and

intentionally, and/or with reckless disregard for the truth submitted false, misleading, and biased

information that was material to the finding of probable cause.

   139. The warrant submitted by Detective Colangelo, with assistance from Officer Gompper,

was submitted with malice, bias, in bad faith, and the product of conuption.




                                                  21



                                                                                      EXHIBIT A
         Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 24 of 61




   V. LEGAL CLAIMS

   A. Sexual assault Defendants


COUNT ONE        (VIOLATION OF CONNECTICUT FAIR EMPLOYMENT
                 PRACTICES ACT - SEXUAL HARASSMENT & HOSTILE WORK
                 ENVIRONMENT - CONN. GEN. STAT. §46a-60(b)(8))(Against Nodine's
                 Smokehouse, Inc.)

  140. Paragraphs 1 through 59 are hereby incorporated by reference.

  141. Calvin Nodine's sexual assault constituted unwelcome sexual conduct.

  142. Calvin Nadine's unwelcome conduct substantially interfered with Nicole Chase's work

performance and created an intimidating, hostile and offensive working environment.

   143. As a result of Calvin Nadine's behavior, Nicole Chase was constructively discharged.

   144. Calvin Nodine was Nicole Chase's supervisor.

   145. Calvin Nodine was Nadine' s Smokehouse' agent.

   146. As a result of Nadine ' s sexual assault on Nicole Chase, she suffered a tangible

employment action, to wit, she was constructively discharged.

   147. Defendant Nadine's Smokehouse, Inc. is legally responsible for Mr. Nodine's conduct

in the workplace, as Mr. Nodine is an agent and/or representative ofNodine' s Smokehouse.

   148. Defendant's conduct violated Co1m. Gen. Stat. §46a-60(b)(8) of the Connecticut Fair

Employment Practices Statute.

   149. As a result of defendant's conduct, has suffered and will continue to suffer lost earnings,

medical expenses, pain, humiliation, loss of enjoyment of life activities, and emotional distress.


COUNT TWO          (VIOLATION OF TITLE VII - SEXUAL HARASSMENT & HOSTILE
                  WORK ENVIRONMENT- 42 USC §2000e, et af)(Against Nodine's
                  Smokehouse, Inc.)
                                                 22


                                                                                      EXHIBIT A
         Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 25 of 61




   150. Paragraphs 140-149 are hereby incorporated by reference.

   15 1. Defendant's conducted violated Title VII of the Civil rights act of 1964, as amended.

   152. As a result of defendant's conduct, has suffered and will continue to suffer lost earnings,

pain, humiliation, loss of enjoyment of life activities, and emotional distress.




COUNT THREE            (VIOLATION OF CONNECTICUT FAIR EMPLOYMENT
                       PRACTICES ACT-RETALIATION - CONN. GEN. STAT. § 46A-
                       60(a)(4))(Against Nodine's Smokehouse, Inc. )

   153. Paragraphs 150-152 are hereby incorporated by reference.

   154. Calvin Nodine retaliated against Nicole Chase for reporting his conduct to the Canton

Police department by making false statements to the police that she consented to the sexual

assault. Nodine knew he was lying at the time that he made the statement to the police.

   155. As a result of his false accusation, Ms. Chase was charged with filing a false statement

and arrested. Ms. Chase's arrest aggravated her emotional distress and caused her to incur

additional costs and legal fees to get the case dismissed.

   156. Defendants retaliated against Ms. Chase for reporting the sexual assault to the police

and making a claim for sexual harassment against them by making false claims to the

Connecticut Depaiiment of Labor, Employment Security division (Unemployment) that her

application for unemployment benefits was fraudulent.

   157. As a result of the defendants' false claim, her receipt of unemployment benefits was

delayed for several weeks.

   158. Defendant did these retaliatory acts because Nicole Chase had opposed defendants'

discriminatory practice.


                                                  23



                                                                                      EXHIBIT A
           Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 26 of 61




   159. Defendants did these retaliatory acts because Nicole chase had made a complaint to the

police and threatened to file a complaint with the Connecticut Commission on Human Rights and

Opportunities.

   160. Defendants' conduct caused Ms. Chase further aggravation of her emotional distress,

and additional costs, to wit, attorney' s fees .

   161. Defendants conduct was in violation of the Connecticut Fair Employment Practices Act,

§ 46a-60(b)(4).


COUNT FOUR              (VIOLATION OF TITLE VII-RETALIATION (Against Nodine's
                        Smokehouse, Inc.)

   162. Paragraphs 153-161 are hereby incorporated by reference.

   163 . Defendant did these retaliatory acts because Nicole Chase had opposed the defendant's

discriminatory employment practices.

   164. Defendants did these retaliatory acts because Nicole Chase had made a complaint to the

police and threatened to file a complaint with the Connecticut Commission on Human Rights and

Opportunities.

   165. Defendants conduct violated Title VII, 42 USC §2000e-3(a).


COUNT FIVE               (VIOLATION OF CONNECTICUT FAIR EMPLOYMENT
                         PRACTICES ACT - AIDING AND ABETTING - CONN. GEN.
                         STAT.§ 46A-60(a)(S))(Against Calvin Nodine, Individually)


   166. Paragraphs 162- 165 are hereby incorporated by reference.

   167. Calvin Nodine, through his sexual assault and post-termination conduct described

above, aided, abetted, incited, compelled and/or coerced Nodine's Smokehouse' s discriminatory

conduct.


                                                   24



                                                                                   EXHIBIT A
         Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 27 of 61




COUNT SIX              (NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS)
                       (Against Calvin Nodi11e and Nodi11e 's Smokehouse)

   168. Paragraphs 166-167 are hereby incorporated by reference.

   169. The defendants' conduct created an unreasonable risk of causing emotional distress to

plaintiff, and defendant Nodine knew or should have known that such conduct was likely to

result in emotional distress that might cause illness or bodily harm.

   170. The plaintiffs emotional distress was foreseeable to the defendant.

   171. The defendants' sexual assault on Ms. Chase caused her constructive discharge and was

undertaken in the termination process.

   172. Defendant was not an employee when defendants' post-termination behavior, as

described above, took place.

   173. As a result of the negligent conduct of the defendant, the plaintiff suffered and will

continue to suffer in the future severe emotional distress.

   174. As a result of defendant's conduct, the plaintiff has suffered the injuries and losses

described herein.


COUNT SEVEN            (INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS)
                       (Against Calvi11 Nodine and Nadine's Smokehouse)

   175. Paragraphs 168 - 172 are hereby incorporated by reference as paragraphs.

   176. The defendant Calvin Nadine's conduct toward the plaintiff was intentional.

   177. Calvin Nadine's conduct was extreme and outrageous.

   178. Defendant Nadine's Smokehouse's post-termination conduct towards Nicole Chase was

extreme and outrageous.

   179. As a result of the defendant's conduct, the plaintiff suffered severe emotional distress.


                                                  25



                                                                                      EXHIBIT A
         Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 28 of 61




  180. Defendant Nodine's Smokehouse is legally responsible for Calvin Nodine's conduct.


COUNT EIGHT             (INTENTIONAL AND/OR RECKLESS ASSAULT AND BATTERY)
                        (Against Calvin Nodine)

  181. Paragraphs 175-179 are hereby incorporated by reference.

  182. The plaintiff was very distraught and humiliated, and she felt violated as a result of the

defendant's conduct.

   183. The defendant intended to cause harmful or offensive contact with plaintiff without her

consent and he intentionally placed the plaintiff in a position of imminent apprehension of

haimful or offensive contact and/or to fear for her safety.

   184. The defendant willfully or voluntarily and intentionally committed the alleged conduct,

and/or did so recklessly or under circumstances showing a reckless disregard of the

consequences and of the plaintiffs rights and safety.

   185. As a result of defendant's conduct, Ms. Chase has suffered bodily harm.

   186. The plaintiff suffered personal embarrassment and humiliation, physical violation,

emotional upset and ai1xiety, feelings of intimidation, invasion of her privacy, and extreme

emotional distress as result of the defendant' s conduct.

   187. As a result of the defendant's conduct, the plaintiff has suffered physical pain, suffering,

and permanent disability.

   188. As a result of the defendant' s conduct, the plaintiff has incuned and will continue to

incur medical expenses, loss of income, and other damages.

   189. As a result of the defendant's conduct, the plaintiff has suffered an impairment of her

ability to enjoy life's activities.




                                                 26


                                                                                      EXHIBIT A
         Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 29 of 61




COUNT NINE           (NEGLIGENT ASSAULT AND BATTERY)(Agai11st Calvin Nodine)

  190. Paragraphs 181-182 are hereby incorporated by reference.

  191. The defendant negligently caused offensive contact with the plaintiff without her consent

and he negligently placed the plaintiff in a position of imminent apprehension of harmful or

offensive contact or fear for her safety and caused her harm thereby.

   192. As a result of defendant's conduct, Ms. Chase has suffered bodily harm.

   193. The plaintiff suffered personal embarrassment and humiliation, physical violation,

emotional upset and anxiety, feelings of intimidation, invasion of her privacy, and extreme

emotional distress as result of the defendant's conduct.

   194. As a result of the defendant's conduct, the plaintiff has suffered physical pain, suffering,

and permanent disability.

   195. As a result of the defendant's conduct, the plaintiff has incu1Ted and will continue to

incur medical expenses, loss of income, and other damages .

   196. As a result of the defendant's conduct, the plaintiff has suffered an impairment of her

ability to enjoy life' s activities.


COUNT TEN                 (INVASION OF PRIV ACY)(Against Calvin Nodine)

   197. Paragraphs 190-191 are hereby incorporated by reference.

   198. The defendant' s conduct invaded the plaintiffs privacy in that he intentionally intruded

upon her physical and psychological solitude and seclusion in a highly offensive mam1er.

   199. As a result of the defendant's conduct, the plaintiff has suffered physical pain and

suffering.




                                                 27



                                                                                      EXHIBIT A
           Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 30 of 61




   200. As a result of the defendant's conduct, the plaintiff has incurred and will continue to

incur medical expenses, loss of income, and other damages.

   201 . As a result of the defendant's conduct, the plaintiff has suffered an impairment of her

ability to enjoy life's activities.


COUNT ELEVEN             (FALSE IMPRISONMENT)(Against Calvin Nodine)

   202. Paragraphs 197-20 I are hereby incorporated by reference.

   203. During the sexual assault, the defendant Calvin Nodine unlawfully restrained Nicole

Chase, to wit, by pulling her into the men's bathroom and locking the door without her consent,

   204. As a result of the defendant's conduct, plaintiff suffered injury.



COUNT TWELVE (INTIMIDATION BASED ON BIGOTRY OR BIAS IN VIOLATION
             OF CONN. GEN. STAT.§ 52-571c) (Against Calvin Nodine and
             Nodine's Smokehouse)

   205. Paragraphs 202 - 204 are hereby incorporated by reference.

   206. Defendant Calvin Nodine maliciously and with specific intent intimidated or harassed

Ms. Chase because of Ms. Chase' s sex and caused physical injury to her.

   207. Defendant maliciously, and with specific intent to intimidate or harass Ms. Chase

because of Ms. Chase' s sex, threatened to and did cause physical contact with her.

   208. Defendant Nodine injured the plaintiff as a result of the above alleged conduct in

violation of Conn. Gen. Stat. §53a-18lj, 53a-18lk and/or 53a-1811.

   209. As a result of the defendant's conduct, plaintiff suffered injury.

   210. Defendant Nadine's Smokehouse, LLC is legally responsible for Calvin Nadine's

conduct.



                                                 28


                                                                                      EXHIBIT A
           Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 31 of 61




COUNT THIRTEEN                (MALICIOUS PROSECUTION) (Against Calvin Nodine and
                              Nodine 's Smokehouse, Inc. )

  211. Paragraphs 205-210 are hereby incorporated by reference.

  212. On May 18, 2017, defendant Nodine lied to the Canton Police that his forcing the

plaintiff to perform oral sex on him in the bathroom of a restaurant was consensual.

  213 . The defendants caused the plaintiff to be arrested and charged with the crime of False

Statement, C01m. Gen. Stat. § 53a-l 57b upon the false information and request of the Defendant

  214. Defendants knew that the alleged crime of false statement did not take place but

requested the arrest of plaintiff and paiiicipated in the continuing prosecution of Ms. Chase

despite the fact that defendant knew and/or had knowledge that the plaintiff was i1mocent of the

charges.

   215. The criminal proceedings have terminated in favor of the plaintiff.

   216. The defendants acted without probable cause.

   217. The defendants acted with malice, primarily for a purpose other than of bringing an

offender to justice; their actions were in retaliation for Ms. Chase's complaint of sexual

harassment and sexual assault, which were in fact true.

   218. Defendant Nodine's actions were approved and ratified by defendant Nodine's

Smokehouse in that it through its agents, did not conduct its own inquiry into the facts pe1iaining

to the incidents complained of herein, did thereafter continue the membership, employment, and

agency of defendant Nodine, did nothing to discipline or reprimand defendant Nodine, and did

adopt the conduct and acts of Nodine as its own.

   219. Defendants knew the information they gave to the police was false and knew that

plaintiff was innocent, but defendants nevertheless persisted in the prosecution and the arrest.


                                                 29


                                                                                       EXHIBIT A
          Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 32 of 61




   B. Police Misconduct Defendants

COUNT FOURTEEN                 (False Arrest - 42 USC §1983)(Detective John Colangelo, Adam
                               Gompper, Sgt. Mark J. Pepper in their Personal Capacity)

  220. Paragraphs 1-139 are incorporated herein by reference.

  221 . At all times mentioned herein, defendants were acting under color of law.

  222. Defendant Colangelo arrested Nicole Chase without probable cause.

  223. Defendant Adam Gompper recklessly and/or deliberately contributed false and

misleading infonnation, omitted material exculpatory information, and distorted the context of

the information used by Defendant Colangelo in the warrant.

  224. Mark J. Pepper approved the wanant and permitted its submission to the State's

Attorney' s Office and the Judge with deliberate and/or reckless disregard for the false, distorted,

and misleading information contained therein, and the omission of material exculpatory

information.

   225. The criminal case brought against Nicole Chase as a result of the an-est wanant

terminated in her favor.

   226. Defendants unlawfully restrained Nicole Chase' s liberty in violation of the Fourth

Amendment of the United States Constitution.

   227. Defendants conduct towards Nicole Chase was in reckless or deliberate disregard of her

rights.

   228. As a result of the defendants' conduct, Nicole Chase has suffered damages.




                                                 30



                                                                                       EXHIBIT A
         Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 33 of 61




COUNT FIFTEEN                (False Arrest-42 USC §1983)(Detective John Colangelo,
                             Officer Adam Gompper, Mark J. Pepper, and Christopher
                             Arciel'O, acting in their official capacity)

   229. Paragraphs 220-228 are incorporated herein by reference.

   230. Defendants unlawfully restrained Nicole Chase's liberty in violation of the Fourth

Amendment of the United States Constitution.

   231. Defendants' conduct towards Nicole Chase was in reckless and/or deliberate disregard

of her rights.


COUNT SIXTEEN                 (False Arrest - Officer Gompper, Det. Colangelo, Sgt. Mark J.
                              Pepper, Chief Christopher Arciero, and the defendant Town of
                              Canton)

   232. Paragraphs 220-228 are incorporated herein by reference.

   233. Defendants unlawfully restrained Nicole Chase' s liberty.

   234. Defendants' conduct towards Nicole Chase was in reckless and/or deliberate disregard

of her rights.


COUNT SEVENTEEN (Malicious Prosecution 42 USC §1983)(Detective John Colangelo,
                  Officer Adam Gompper, and Sgt. Mark J. Pepper in their
                  Personal Capacity)

   235. Paragraphs 220-228 are incorporated herein by reference.

   236. At all times mentioned herein, defendants were acting under color of law.

   237. Defendants initiated criminal proceedings against Nicole chase without probable cause.

   238. The criminal case brought against Nicole Chase terminated in her favor.

   239. Defendants conduct violated her rights under the Fomih Amendment of the United

States Constitution.




                                                31



                                                                                    EXHIBIT A
          Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 34 of 61




   240. Defendants conduct towards Nicole Chase was in reckless or deliberate disregard of her

rights.


COUNT EIGHTEEN               (Malicious Prosecution 42 USC §1983)(Detective John
                             Colangelo, Officer Adam Gompper, Sgt. Mark J. Pepper, and
                             Chief Christopher Arciero in their Official Capacity)

   241 . Paragraphs 235-240 are incorporated herein by reference.

   242. Defendants conduct violated her rights under the Fourth Amendment of the United

States Constitution.


COUNT NINETEEN                (Malicious Prosecution - Common Law)(Detective John
                              Colangelo, Officer Adam Gompper, Sgt. Mark J. Pepper, Chief
                              Christopher Arciero and defendant Town of Canton)

   243. Paragraphs 235-240 are incorporated herein by reference.

   244. Defendants initiated criminal proceedings against Nicole Chase without probable cause.

   245 . The criminal proceedings terminated in Nicole Chase's favor.

   246. Defendants acted with malice.

   247. Defendants acted with malice and deliberate and/or reckless disregard of her rights.


COUNT TWENTY                  (Denial of Equal Protection - 42 USC §1983 -
                              Chief Christopher Arciero, Detective John Colangelo, and
                              Police Officer Adam Gompper, Sgt. Mark J. Pepper, in their
                              personal capacities)


   248. Paragraphs 235-240 are incorporated herein by reference.

   249. The Town of Canton, and in particular, the Town of Canton Police Department

maintained longstanding discriminatory practices against women.




                                               32


                                                                                    EXHIBIT A
         Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 35 of 61




  250. These practices were sufficiently well-settled to be considered custom and practice in

the Canton Police Department.

  251. These practices were so manifest as to result in the constrnctive acquiescence of senior

policy-making officials in the Canton Police Force and the Town of Canton.

  252. At the time of Ms. Chase's arrest, there were no women police officers in the Canton

police department.

  253. The Canton Police Department provided inadequate training for investigations of crimes

against women.

  254. The Canton Police depai1ment was riddled with stereotypical assumptions about women

who repmi crimes of violence against men; it affected their ability to investigate these crimes

and resulted in disparate outcomes in these investigations and treatment of female victims.

  255. The Canton Police Depai1ment provided inadequate oversight of its officers

investigating crimes of violence against women.

  256. Women submitting claims of sexual assault or domestic violence were treated

differently that males alleging criminal conduct.

   257. Men accused of crimes were treated more favorably when the accuser was a female.

   258. Defendants lack ofrespect in their treatment of Nicole Chase, failure to take her case

seriously, failure to communicate with her about her case, failure to disclose that she was being

treated as a criminal suspect, false arrest, and malicious prosecution constituted a denial of her

right to Equal Protection under the Fifth and Fom1eenth Amendments of the United States

Constitution.




                                                 33


                                                                                       EXHIBIT A
        Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 36 of 61




  259. As a result of the defendants' longstanding customs and practice of discrimination and

hostility towards female victims of crimes of violence against men, Nicole Chase suffered injury.

  260. This conduct was in deliberate and/or intentional disregard of Ms. Chase's rights.


COUNT TWENTY-ONE              (Denial of Equal Protection - 42 USC §1983 -
                              Chief Christopher Arciero, Detective John Colangelo, and
                              Police Officer Adam Gompper in their official capacities)


  261. Paragraphs 248-260 are incorporated herein by reference .

  262. In addition to the other evidence of disparate treatment, defendants even treated Mr.

Nodine and Ms. Chase in a blatantly disparate maimer in c01mection with their witness

interviews.

  263. According the aITest warrant, Calvin Nodine initially told the police, in the presence of

his attorney, that there had been no sexual contact between himself and Nicole Chase.

Subsequently he admitted that he had oral sex with Nicole Chase.

  264. Unlike Ms. Chase, Nodine was never arrested for his initial false statement to the police

about the events of the sexual assault.

  265. Defendants conduct constituted a violation of her right to Equal Protection of the laws

under the fifth and Fomteenth Amendments of the United States Constitution.

   266. This conduct was in deliberate ai1d/or intentional disregard of Ms. Chase's rights.


COUNT TWENTY-TWO (Denial of Substantive Due Process - 42 USC §1983 -
                 Detective John Colangelo, and Police Officer Adam Gompper
                  in their unofficial capacities)


   267. Paragraphs 261-266 are incorporated herein by reference.




                                                34



                                                                                    EXHIBIT A
        Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 37 of 61




  268. The behavior of the defendants towards Ms. Chase, a victim of sexual assault was an

egregious, outrageous, and arbitrary asse1tion of government authority that shocked the

conscience.

  269. Their behavior towards her constituted a violation of her substantive due process rights,

in violation of her Fowteenth Amendment rights under the United States Constitution.


COUNT TWENTY-THREE                    (Intentional Infliction of Emotional Distress - Common
                                      Law - Detective Colangelo, Officer Gompper, Town of
                                      Canton)


  270. Paragraphs 261 -264 are incorporated herein by reference.

  271. The behavior of defendants Colangelo and Gompper towards Nicole Chase was extreme

and outrageous.

   272. The behavior of defendants Colangelo and Gompper was deliberate and with reckless

disre~ard to the likelihood that it would cause Nicole Chase extreme emotional distress.

   273 . As a result of their behavior, Nicole Chase has suffered extreme emotional distress.

   274. The defendant town of Canton is liable for the conduct of Defendants Gompper and

Colangelo.


COUNT TWENTY-FOUR                     (Negligent Infliction of Emotional Distress - Common
                                      Law - Detective Colangelo, Officer Gompper, Town of
                                      Canton)

   275. Paragraphs 270-271 are incorporated herein by reference.

   276. The conduct of Defendants Gompper, and Colangelo created an unreasonable risk of

causing emotional distress to plaintiff, and defendants knew or should have known that such

conduct was likely to result in emotional distress that might cause illness or bodily harm.



                                                35


                                                                                     EXHIBIT A
      Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 38 of 61




277. The plaintiff's emotional distress was foreseeable to the defendants.

278. As a result of the defendants' conduct, Nicole Chase suffered emotional distress.

279. The defendant Town of Canton is legally responsible for the defendants' conduct.




                                             36


                                                                                 EXHIBIT A
        Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 39 of 61




                                    PRAYER FOR RELIEF

       WHEREFORE the plaintiff claims:

       (a) Economic damages for lost wages and medical expenses;

       (b) Compensatory damages for emotional distress, loss of enjoyment of life's activities,

           pain, and humiliation;

       (c) punitive damages pursuant to plaintiffs §1983, Title VII and Connecticut common

           law claims;

       (d) treble damages fee pursuant to Co1m. Gen. Stat. § 52-571c;

       (e) prejudgment and post judgment interest at the statutory rate;

       (f) attorneys' fees , costs and expenses;

       (g) Injunctive relief enjoining the defendants from discriminating against female victims

of sexual assault and other crimes of violence; and

       (h) such other and further relief as to the Court deems just and proper under the

circumstances.


                                                         THE PLAINTIFF,
                                                         NICOLE CHASE


                                                   By:_L_ _        u____/
                                                                     --=-----
                                                      Lewis Chimes (Juris No. 303446)
                                                      Mary-Kate Smith (Juris No. 423804)
                                                      Law Office of Lewis Chimes LLC
                                                      45 Franklin Street
                                                      Stamford, CT 06901
                                                      Phone: (203)32407744
                                                      Facsimile: (203)969-1319
                                                      Email: lchimes@chimeslaw.com
                                                             msmith@chimeslaw.com

                                                   37



                                                                                     EXHIBIT A
         Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 40 of 61




RETURN DATE: MAY 8, 2018 _ _x
                                                   Did: HHD-CV-XX-XXXXXXX-S
NICOLE CHASE,
                      Plaintiff,
                                                   SUPERIOR COURT
               VS.

                                                   JUDICIAL DISTRICT OF
NODINE'S SMOKEHOUSE, INC.,
CALVIN NODINE, DETECTIVE                           HARTFORD
JOHN COLANGELO, POLICE
OFFICER ADAM GOMPPER,
SGT. MARK J. PENNEY, POLICE                        April 10, 2018
CIDEF CHRISTOPHER ARCIERO,
and the TOWN OF CANTON
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _x

                                   STATEMENT OF DEMAND

       The amount in demand is greater than Fifteen Thousand Dollars ($15,000), exclusive of

interest and costs.




                                                      THE PLAINTIFF,
                                                      NICOLE CHASE

                                                       L        /~ / .
                                               By:_ _ _ _ _~- -
                                                              ~-        - - - - --         -
                                                      Lewis Chimes (Juris No. 303446)
                                                      Mary-Kate Smith (Juris No. 423804)
                                                      Law Office of Lewis Chimes LLC
                                                      45 Franklin Street
                                                      Stamford, CT 06901
                                                      Phone: (203)32407744
                                                      Facsimile: (203)969-1319
                                                      Email: lchimes@chimeslaw.com
                                                             msmith@chimeslaw.com




                                              38


                                                                                 EXHIBIT A
           Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 41 of 61



D.N.: HHD-CVl 7-5049825-S                             SUPERIOR COURT

NICOLE CHASE                                          JUDICIAL DISTRICT OF HARTFORD

                VS.

NODINE'S SMOKEHOUSE, INC.; and
CALVIN NODINE                                         APRIL 10,2018

                                   WRIT OF ATTACHMENT

TO ANY PROPER OFFICER:

GREETING:

        BY THE AUTHORITY OF THE STATE OF CONNECTICUT, in accordance with an order

entered on the 22nd day of March, 2018 by the Honorable Judge David M. Sheridan of the Superior

Court of Connecticut, in the Judicial District of Hartford ( copy attached),

        YOU ARE HEREBY COMMANDED to secure the sum of SEVEN HUNDRED FIFTY

THOUSAND and 00/100 DOLLARS ($750,000) by attaching sufficient property of the defendants,

Nadine's Smokehouse, Inc. and Calvin Nodine (and their agent), to secure said sum as follows:

        Attaching real property owned by Nadine's Smokehouse, Inc. and Calvin Nodine and/or

their affiliates, including:

        (I) certain real property commonly known as 399 Greenwoods Road, Norfolk,

        C01mecticut, 06058 owned by Calvin Nodine; and

        (2) ce1iain real property conunonly known as 668 Riverside Road, Torrington, CT

        owned by C Nodine Realty LLC; and

        (3) certain real prope1iy located at 65 Fowler Avenue, Torrington, CT, owned by Ronald

        and Johanne Nodine.

        Schedules A for the above three properties are attached hereto.

        This Writ of Attachment is issued pursuant to Connecticut General Statutes §52-278a et seq.

and is issued in conjunction with an Order in the above-referenced action by the Court, a copy


                                                                                     EXHIBIT A
        Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 42 of 61




of which is aimexed hereto.

       Of this writ with your actions thereon make due return.

       Dated at Stamford, Connecticut, this 101h day of April, 2018.




                                                        THE PLAINTIFF,
                                                        NICOLE CHASE


                                                        .A       /     /
                                                          _ _L/'
                                                By: _ _.j..__  =--_L--
                                                                     _ _ _ _ _ _ _ __
                                                       Lewis Chimes (Juris No. 303446)
                                                       Mary-Kate Smith (Juris No . 423804)
                                                       Law Office of Lewis Chimes LLC
                                                       45 Franklin Street
                                                       Stamford, CT 06901
                                                       Phone: (203)32407744
                                                       Facsimile: (203)969-1319
                                                       Email: lchimes@chimeslaw.com
                                                              msmith@chimeslaw.com




                                                                               EXHIBIT A
                                                 2
Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 43 of 61




       SCHEDULE A FOR PROPERTY 1




                                                           EXHIBIT A
Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 44 of 61

                                      SCHEDULE A




 A single piece or parcel of land situated southerly of Colebrook Road, also known as
 Route No. 182, in the town of Norfolk, County of Litchfield, and State of Connecticut,
 consisting of two (2) formerly separate pieces or parcels of land described as follows:



 FIRST PIECE:                                                                        (•




  Lot No. 6 on a survey entitled "Plan of Sub-Division Land Owned by Roger 8. & .
  Barbara W. Rudder Colebrook Road, Route No. 182 & Winsted Road, Route No. 44
  Norfolk, Connecticut Scale 1" = 100' October, 1975," prepared by Edward F. Reuber,
  Surveyor Hodge Surveying Associates, P.C., which survey has been placed on file in
  the Office of the Norfolk Town Clerk as Map Number




  SECOND PIECE:

  Parcel "B," containing 20.00± acres, on a survey entitled "Property Survey Lot line
  Revision Prepared for 114 Colebrook Road LLC 114 Colebrook Road Norfolk,
  Connecticut Scale 1" = 100'," dated October, 2011, prepared by Robert C. Sterling,
  Licensed Land Surveyor, GM2 Associates, Inc., 16 Bird Street, Torrington, Connecticut,
  which survey has been placed on file in the Office of the Norfolk Town Clerk as Map
  Number




                                                   ,.




                                                                            EXHIBIT A
Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 45 of 61




                                                           EXHIBIT A
                                                   Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 46 of 61




                   .                ,,
                ".~ .:-·:_.;~'\:~             .· ....... ..




•:

                   ~..         :

~·,..•:
~
                ... .
K.

    /
         , ..
        .'

        .·.
        ·.:.
        ·!.-~




        r..,::· ·
        .~-. . .. . .
                                         .,
                                         ',
                       •,,   ....
                  ......




                                                                                                      '' \
                                                                                                             \
                                                                                                                 .,
                                                                                                                 \


                                                                                                                      '',


                                                                                                                       \




                                                                                                                            EXHIBIT A
Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 47 of 61




       SCHEDULE A FOR PROPERTY 2




                                                           EXHIBIT A
Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 48 of 61




                                          SCHEDULE A ·




            A ce.1ain piece or parcel of land with all buildings and other improvements
            thereon, situated on the easterly slde of Riverside Avenue in the Town of
            Torrington, County of Lit:chfield and State of COnnecticut, bounded and described
            as follows:


            NOKlliERLY:         by land now or formerly of the oty of Torrington, 144 feet,
                                more or less;

            EAS'iERl.Y:         by the west branch of the Naugatuck Rlver;

            SOUTHERLY:          by land now or forme!'iy of Frederick Zavatray; and

                                by public highway known as Riverside Avenue.

            Said premises contains 2597::::: acres as shown on a map entitled "2.5S7:!: ACRES
            PROPEKIY BOUNDARY SURVEY PREPARED FOR RNERSIDE ROUS. PARK
            RIVERSIDE     AVC....NUE TORRINGTON, CONNECTictIT SCALE 1"=30' 0Ci0B5l
            1997 ZONED LB", prepares by S. P. Sertaccini, Land Surveyors, which map is en
            file cS Map #4302 in the Office of the Town Clerk of Torrington.




                                                                                                EXHIBIT A
    Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 49 of 61




                       :•
                        ~
             ~
                       ~
             •
             ~

             't
             ~
             ~
             ~
             <


             ~
             ~
         ~
         ~
         ~
         ~
                   ~

                   :
                  ,f

         '
                  i, •
         ~        ti
                  ~

                   '
                  ':.




                                              ·· ..



I
                                               ~~



                                                               EXHIBIT A
J
Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 50 of 61




       SCHEDULE A FOR PROPERTY 3




                                                           EXHIBIT A
Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 51 of 61




                                              SCHEDULE A ·


 FrRST PIECE:

 A certain parcel of la!!d with buildings and improvements thereon located at the in~~;:ction of the
 wes-cerly line of Avenue A and the northerly line of Fowler Avenue, m. tb.e City of Torr..n,.aton,
 County of Litchfield, State of Connecticut, more particularly bounded and described 2.S follows:

Commencing at a point marking the intersection of the we.,~terly line of said Avenue A :md the
northerly line of Fowler Av~nue; thence running N. 70° 36' 30" W. 186.58 feet along the northerly
line to 2. point ma.rJcing the southeasterly corner of land of Connecticut Light and Pow::r Compa!!y;
thence n ..'!llllllg along the easterly line of land of the Connecticut Light 2nd Power Company N. 7°
28' 50" E. 101.39 feet to a point; thence continuing alcmg the easterly liJle of said Collllectic:nt Light
and Power Company, N. 19° 26' 05" E. 31.13 fea..t to an iron pin in foe sot.Tfuerly line of land of
John J. and Linda M. Salamacha; thence ronning 2long the southeriy line of said Jobn J. and
Linda M. Saiamac:ha, hi part, and in. part along the soutberiy line of land of Rzymond A. Leone,
S. 70° 38' 25" E., a total distan,;c of 89.58 feet to an existing iron pin; thence running N. 23° 46'
25" E. 48.11 feet to a point marking the southwesterly corner of land of David B. Johnson, Jr. and
Lee H. Johnson; thence running along the solith.crly fuie of land of David B. Johnscr!., Jr. 2nd Lee B.
Johnson, S. 70 ° 38' 1O" E. 119. 62 feet to au. existing ircn pin set in the westerly !i!le of said Aveirue
A; thence ;:u.,ning along the westerly line ~f said Avenue A, S. 24° 19' 15" W. 179.08 reet to the
point and place of begimlirlg.

SECOND PARCEL:

A certain parcel of land with improvements thereon located on the southerly side of Fowler Avenue
in the City of Tomngton, CoUilty of Litchfield, S-.a~ of Conni::dicat, more particularly bounded and
described as follows:                               :

CornmenciDg :at a point marking the intersection ot the southerly line of Fowler Avenue and the
westerly llile of Avenue A; the:oce ru,,ning along th~ westerly line of Avenue A, S. 24° 19' 15" W.
109.19 feet to a point m the Dortherly line of 12.nd o'f the State of Connecticut; tb.ence running along
the northerly line of the S-..ate of Connecticut, N. 1st 19' 30" W. 128.15 feet to an existing CQncrete
mo!lll.-ncnt; thence running along the easterly line of[land of Connl!"'...ticut Light and Power Company,
N. 24" 00' 05" E. 119.71 feet to a point in the stjutherly line of Fowler Avenue; th..-nce running
alo~g ~ -e soutneriy line of Fowler Avemze, S. 70° ~6' 30" E. 127.48 feet co the point and place of
begmnmg.                                               ;
                                                       '
The above two pa....-cels are shown on map entitled( "MAP OF LAND TO BE CONVEYED BY
TORRINGTON KNITTING MIILS, INC. TO RO~ALD F. NODINE & JOHANNE E. NODINE
TORRINGTON, CONNECTICUT SCALE: l" := 20' DECEMBER 14, 1987", prepared by
David J. Little, Licensed Land Su..-veyor CT #13303l which map is on file in the office of the Town
Clerk of Torrington as Map No. 3149 to which reference is hereby made for a more particular
description of said premises                          l




                                                                                                      EXHIBIT A
Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 52 of 61

                                                                                                        l_~jj l                                                      ,-- 1
                                                                                                                                                                         -'5:..!:==-




                                                                                        COLT AVEI-IUE

                                                                           '    S)·                                                                                                               --
                                                                                                                                                                                                  '°'


                                                                                                                         LEE ~- JO~>JSON
                                                                                                                                                                                             '-.
                                                                                                                                                                                             :~·a
                                                                                    l<AVMONO A.                                                                                              j~g
                                                                                      LEOIIE
                                                                               I
                                                                               • urn10tu.""6Jt • 'Ot.                                                                                        :,
                                                                                                                                                                                             '
                                                                                                                                                                                             I
                                                                                                                                                                                             I
                                                                                                                                                                                         'I
                                                                                                                                                                                         I
                                                                                                                                                                                         :m===-
                                                                                                                                                                                         ,,'
                                                                                                                                                                                         I

                                                                                                                                                                                         ,·,."
                                                                                                                                                                                         ,.
                                                                                                                                                                                         I




             COll~ECIICIJI UGMT < FOWEe O:,U?AIIV
                                                                                                                                                                                         I>-
              cr~tiu..i.~ •)..., , 3.SO.
                                                                                                                                                                                     :~
                                                                                                                                                                                     I ll:
                                                                                                                                                                                     !~
                                                                                                                                               2                                     : I
                                                                                                                                                                                     I
                                                                                                                                                                                 I


                                                                                                                                                     ....       .
                                                                                                                                                                -        <-0
                                                                                                                                                                                 I

                                                                                                                                                                                 :
                                                                                                                                                                    2f
                                      ------. ------                               ------                                                                                    I
                                                                                                                                                                             I
                                                                                                                                                                             I
                                                                                                                                                                             I
                                                                                                                                                       \I
                                                                                                                                                            I
                                                                                                                                                            I



                                 (OtJIJECtlCUT LIGUT t POWei C,Ol,,tP.OIJV                              1<1.soa s..c; , o.333 •c.
                                                                                                                                                      .~:'
                                                                                                                                                   O">!!!.l
                                                                                                                                                   "":.'                 '
                                                                                                                                                                         I
                                           :(';'tt 10 11.,.C. W, • l£1,.                                                                       2=:                       I
                                                                                                                                                                         I
                                                                                                                                                                     :
                                                                                                                                                                     I <
                                                                                                                                                                     I           .
                                                                                                                                                                     I           !
                                                                                                                                                                     1- :
                                                                                                                                                                     I           •
                                                                                                                                                                    !.--·-·-
                                                                                                           stATE or co!J'lECIICOT
                                                                                                             n.fU   TO t ~I,. M,IJI' 1 l)f,


                                 MOTES
      MS P.O.,(ll'JY,SUGMLY ~~ ..'GWll1.12ff'iZO,IC'f10"UJ,blf
      n,,.tf, RC:.C U.:0 ~UUE »,ili,,"e   ~nows,
      1\lt ~C'l'UlJCS ~MEttOJ,1WiaKl"8t.6il(OCl)\,faHnYC..o,..
      W!ti:tUIOU...:O&U:~ l:)PM"'AIU a.m,o~
      S::E~IZ TO-SlnD,IOl,lf~ .»,/p " a ~·vLP'S.


                                                                                                                      M.l>P or l.AIJO TO BE COIIIVEYEO BY
                                                                                                                 TORR] NGfON KNJTTl>JG Ml ll5. JI-JC.
                                                                                                                                              TO
                                                                                                   - - RONALD            I=:   NODINEiJOI-IANNE 1-1. N0DlNE --
                                                                                                                        ro111w.ic;row.             CONNECTICUT
                                                                                                        SCALE: 1• • W'                                              O~M8E2 14.1981

                                                                                                                        ~~.
   ·~
  .
  :~'
  ·r~                                                     rG'OM ri.:c o,~1GC OC' OOUGCAS G. U TrU ' $QM ~o MAIIJ st lOtenJCTON . Cl,

   j._                                                                                                                           -----~·-,.J,,..- -F·---· . _• ... ,' "'"'--




                                                                                                                                                                                                        EXHIBIT A
            Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 53 of 61



                                                                                    ORDER     431199
DOCKET NO: HHDCVl 75049825S                             SUPERIOR COURT
CHASE, NICOLE                                           JUDICIAL DISTRICT OF HARTFORD
 V.                                                       AT HARTFORD
NODINE'S SMOKEHOUSE Et Al
                                                        3/22/2018



                                               ORDER


ORDER REGARDING :
03/22/2018 105.00 CASEFLOW REQUEST (JD-CV-116)

The foregoing, having been considered by the Court, is hereby:

ORDER:

The Stipulated Prejudgment Remedy dated March 22, 2018 is approved, incorporated as if fully set forth
herein, and entered as an order of the court, effective this date.

Judicial Notice (JDNO) was sent regarding this order.

                                                   431199

                                                   Judge: DAVID M SHERIDAN




HHDCV175049825S         3/22/2018                                                    EXHIBIT
                                                                                        Page 1Aof 1
         Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 54 of 61




D.N.: HHD-CVl 7-5049825-S                                SUPERIOR COURT

NICOLE CHASE                                             JUDICIAL DISTRICT OF HARTFORD

                 VS .


NODINE'S SMOKEHOUSE, INC.; and
CALVIN NODINE                                            MARCH 23, 2018

                            STIPULATED PREJUDGMENT REMEDY

                 The defendants, Nadine's Smokehouse, Inc. and Calvin Nodine, hereby stipulate

to a prejudgment remedy, pursuant to Co1mecticut General Statutes § 52-278a, et. seq.

       I. The defendants, Nodine' s Smokehouse, Inc. and Calvin Nodine, jointly and severally,

agree that to secure the sum of SEVEN HUNDRED FIFTY THOUSAND and 00/100

DOLLARS ($750,000), the plaintiff may cause to be issued an attachment and/or garnishment of

sufficient property of the defendants as shall be identified as set forth in their financial disclosure

affidavits or depositions and, including but not limited to:

        (1) ce11ain real property commonly known as 399 Greenwoods Road, Norfolk,

        Connecticut, 06058 owned by Calvin Nodine; and

        (2) certain real property commonly known as 668 Riverside Road, T01Tington, CT

        owned by C Nodine Realty LLC;

        (3) certain real property located at 65 Fowler Avenue, Tonington, CT, owned by Ronald

        and Johaime Nodine.

        II.   The defendants, Nadine's Smokehouse, Inc. and Calvin Nodine, also stipulate that

the Motion to disclose assets shall be granted as follows:

        I.        Within 30 days of the entrance of this order, Calvin Nodine, or his duly

              authorized representative will provide an affidavit under oath identifying with

              specificity all of his real or personal property.



                                                                                         EXHIBIT A
          Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 55 of 61




        2.        Within 90 days of this order, defendant Nadine's Smokehouse, Inc., through its

             duly authorized representative, will provide an affidavit under oath identifying with

             specificity all real or personal property owned by the company.

        3.       Each affidavit shall include the following:

                 a.        Proof that affiant has express authority from Nadine' s Smokehouse or

                       Calvin Nodine to provide the information contained therein;

                 b.        Certification that affiant conducted due diligence to determine with

                       reasonable accuracy all assets;

                 c.        All real property owned by Nadine 's Smokehouse or Calvin Nodine,

                       Ronald Nodine and/or Johanne Nodine, related in any way to the operation of

                       Nadine's Smokehouse, Nadine's Smokehouse Deli and Restaurant, Nadine' s

                       Gourmet Store, C Nodine Realty, or any other entity owned in whole or in

                       part by Calvin Nodine, Ronald Nodine, or Johanne Nodine. 1

                  d.       As to the real property identified:

                            1.      Any appraisal or assessment done of the property in the past five
                                 years;

                           11.      Any mortgages or other liens on the property;

                          m.        The amount currently due under each mortgage or lien;

                          iv.       The schedule of payments under each mortgage;

                           v.       The property taxes due on the property;

                          vi.       Whether the property has any tenants;

                         v11.       The terms of the lease of any tenant/lessee, including, but not

                                 limited to the name and address of the tenant/lessee; the length of the

                                 lease; the monthly amount due under the lease;

                  e.       All bank accounts, including general operating accounts, payroll accounts,

         This order does not authorize disclosure nor seek attachment of the primary residence, furniture, fixtures or
personal property contained th erein of Ronald or Johanne Nodine.


                                                          2                                           EXHIBIT A
          Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 56 of 61




                      or capital accounts for Nodine's Smokehouse or Calvin Nodine, Nodine's

                      Smokehouse Deli and Restaurant, Nodine's Gourmet Store and C Nodine

                      Realty, or any other business owned in whole or in part by Calvin Nodine.2

                      All bank accounts in the name of Ronald Nodine and/or Johanne Nodine

                      should be identified to the extent that the accounts relate to the operation of

                      Nodine's Smokehouse, Nodine's Smokehouse Deli and Restaurant, Nodine's

                      Gourmet Store, C Nodine Realty. 3

                 f.       As to each bank account identified:

                           1.      The identity of the bank and its branch location.

                          11.      The identity of the party or parties to the account.

                         111.      The account number of the account.

                         1v.       The cunent balance in the account;

                          v.       The balance in the type of account on November 1, 2017.

                 g.       Any line of credit held by Nodine's Smokehouse or Calvin Nodine,

                      Nodine's Smokehouse Deli and Restaurant, Nodine's Gourmet Store and C

                      Nodine Realty, or any other business owned in whole or in part by Calvin

                      Nodine. All lines of credit in the name of Ronald Nodine and/or Johanne

                      Nodine should be identified to the extent that the accounts relate to the

                      operation ofNodine's Smokehouse, Nodine's Smokehouse Deli and

                      Restaurant, Nodine's Gourmet Store, C Nodine Realty. 4

                 h.       As to each line of credit identified:

                           1.      The identity of the institution holding the line of credit;

                          11.      The identity of the party or parties to the line of credit;


2
         This order does not authorize nor seek disclosure of any 401K or profit sharing account.
         This order does not authorize disclosure nor seek attachment of the personal bank accounts of Ronald or
Johane Nodine.
4
         This order does not authorize disclosure nor seek attachment of any home equity loan on the primary
residence of Ronald or Johanne Nodine.


                                                         3                                         EXHIBIT A
          Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 57 of 61




                         111.       The account number of the account.

                          1v.       The total amount of credit available.

                           v.       The current amount of debt.

                          v1.       The amount of debt on November 1, 2017.

                 1.        all furniture, fixtures, equipment located at 65 Fowler Avenue, Torrington

                       Connecticut;

                 J.        all furniture, fixtures, and equipment located at 192 Albany Turnpike,

                       Canton Co1mecticut;

                 k.        all furniture, fixtures, and equipment located at 39 North Street, Goshen,

                       Connecticut-,5

                 1.        all furniture, fixtures, and equipment located at 668 Riverside Road,

                       To1Tington, CT;

                  m.       As to the furniture, fixtures and equipment listed above:

                            1.      The cost of the equipment;

                           11.      Any appraisal of the value of the equipment in the past ten years;

                          111.      Any lien on the equipment;

                          1v.        Whether the equipment is owned or leased;

                           v.       The terms of any lease and option to buy at the expiration of the

                                 lease;

                  n.       Any funds held in trust on behalf of Ronald Nodine;

                  o.       For any funds identified:

                            1.       The identity of the trustee;

                           11.       The name and address of the institution or person holding the

                                 funds ;

5
 This order does not authorize disclosure nor seek attachment of the primary residence, furniture, fixtures or
personal property contained therein of Ronald or Johanne Nodine.


                                                          4                                          EXHIBIT A
Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 58 of 61




             m.      The current balance of the identified funds ;

             1v.     The balance of the funds on November 1, 2017.

    p.       Any debts or accounts receivable owing to Nodine's Smokehouse or

          Calvin Nodine, Nodine' s Smokehouse Deli and Restaurant, Nodine's

          Gourmet Store and C Nodine Realty, or any other business owned in whole or

          in part by Calvin Nodine. Any debts owing to Ronald Nodine and/or Joha1me

          Nodine should be identified to the extent that they relate to the operation of

          Nodine's Smokehouse, Nodine's Smokehouse Deli and Restaurant, Nodine's

          Gourmet Store.

    q.        As to any debt, account receivable identified:

              1.     The name and address of the debtor;

             11.     The amount of the debt;

             m.      The amount of the debt on November 1, 2017.

    r.        Any other assets, including, but not limited to securities, partnership

          interests, cash on hand, ofNodine' s Smokehouse or Calvin Nodine, Nodine's

          Smokehouse Deli and Restaurant, Nodine ' s Gourmet Store and C Nodine

          Realty, or any other business owned in whole or in part by Calvin Nodine.

          Any debts owing to Ronald Nodine and/or Johaime Nodine should be

          identified to the extent that they relate to the operation ofNodine's

          Smokehouse, Nodine's Smokehouse Deli and Restaurant, Nodine ' s Gourmet

          Store. Any assets should be identified by address and location, value, with

          sufficient particularity to serve an attaclunent.

     s.       Any insurance policies, including but not limited to employment practices

          policies, commercial liability policies, excess coverage policies, umbrella

          policies, declaration sheets relevant to coverage of the claims in the instant

          case, any correspondence with any insurance companies in this matter



                                         5                                    EXHIBIT A
         Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 59 of 61




                    indicating whether notice has been provided, or there has been a declination or

                    reservation of rights.

               t.       Each affiant shall identify any and all assets as described above that have

                    been transferred, disposed of, spent, concealed or encumbered in any way

                    since November 1, 2018, even if the asset is no longer in the custody or

                    control of Calvin Nodine or Nadine's Smokehouse, Nadine's Smokehouse

                    Deli and Restaurant, Nodine's Gourmet Store and C Nodine Realty, or any

                    other business owned in whole or in part by Calvin Nodine. Any debts owing

                    to Ronald Nodine and/or Johanne Nodine should be identified to the extent

                    that they relate to the operation ofNodine's Smokehouse, Nodine's

                    Smokehouse Deli and Restaurant, Nadine's Gourmet Store.

               u.       As to each asset identified above in paragraph t:

                        1.       The date of the transfer, disposal, encumbrance;

                        11.      The amount of the transfer, disposal, encumbrance;

                       111.      Any consideration received for the transfer, disposal,

                              encumbrance.

               v.       Each affiant may submit documents in lieu of answers in the affidavit, so

                    long as the documents provided provide the information requested.

III. The plaintiff reserves the right to take additional depositions within 30 days of the

submission of the affidavits if the affidavits are insufficient or incomplete.

IV.    The defendants shall not transfer, dispose of, injure, conceal or in any way encumber,

outside of the ordinary course, money or property of the defendants until their assets are

sufficiently disclosed to the plaintiff and the plaintiff has attached and/or garnished sufficient

property of the defendants to secure the sum of SEVEN HUNDRED FIFTY THOUSAND and

00/100 DOLLARS ($750,000).

V.      If the defendants will remain obligated to disclose all assets in the affidavits,



                                                   6                                      EXHIBIT A
         Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 60 of 61




notwithstanding that they may object the attachment of any certain assets . If the defendant

objects to the attaclunent of any asset in the disclosure it reserves the right to move to dissolve

the attaclm1ent and/or substitute another asset in its place.

VI. The defendants reserve the right at any time to move to modify the PJR for any reason, or to

move to substitute a bond, or if they provide proof of sufficient insurance coverage.

VII. the patties agree to cooperate in good faith to provide adequate assurances to the plaintiff of

the preservation of her potential remedy without interfering with the operation of the defendants'

business.

VII.        The pa11ies agree that this Stipulated Prejudgment Remedy and Disclosure of Assets is

fair and reasonable under the circumstances; this Stipulated Prejudgment Remedy shall be

governed, construed and enforced in accordance with the laws of the State of Connecticut; and

the Superior Court of the State of C01mecticut, Judicial District of Hartford shall have exclusive

jurisdiction and venue over any disputes arising out of this Stipulated Prejudgment Remedy.




ATTORNEYS FOR PLAINTIFF                                 ATTORNEY FOR DEFENDANT NODINE


By:_/Lewis Chimes/- - - - -                     By:    /David A. Moraghan
Lewis Chimes (Juris No. 303446)                           David A Moraghan
Mary-Kate Smith (Juris No. 423804)                        Smith Keefe Moraghan & Waterfall LLC
Law Office of Lewis Chimes LLC                            Torrington, CT 06790
45 Franklin Street                                        dam@skmwlaw.com
Stamford, CT 06901                                        Tel: 860-482-7651
Tel: 203-324-7744                                         Fax: 860-482-7845
Fax:203-969-1319
lchimes@chimeslaw.com
msmith@chimeslaw.com



ATTORNEYS FOR DEFENDANT
NODINE SMOKEHOUSE, INC.




                                                   7                                    EXHIBIT A
        Case 3:18-cv-00683-VLB Document 1-1 Filed 04/20/18 Page 61 of 61




By:-.l...~~~..L<tt=t-,,..&:41~~J-J.-4-,A--<~
Elizabet Ac          Juris No.428872)
LeClairRyan PLLC
545 Long Wharf Drive 9•h Floor
New Haven, CT 06511
Tel: 203-672-3203
Fax: 203-672-3239
cl i za heth .acct£!lg_c la i rr_yjllhcom




                                                                   EXHIBIT A
